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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

                        CRIMINAL ACTION NO. 99-10098-RGS
                          CIVIL ACTION NO. 09-10303-RGS

                                   DAVID A. TURNER

                                            v.

                            UNITED STATES OF AMERICA

                          MEMORANDUM AND ORDER ON
                        PETITIONER’S MOTION TO VACATE,
                        SET ASIDE, OR CORRECT SENTENCE

                                      May 20, 2009

STEARNS, D.J.

      On March 2, 2009, David A. Turner, through counsel, brought this petition to vacate,

set aside, or correct his sentence pursuant to 28 U.S.C. § 2255. Turner’s principal

contention is that a Hobbs Act conspiracy, as defined in 18 U.S.C. § 1951(a), does not

qualify as a crime of violence subject to the enhanced penalties prescribed by 18 U.S.C.

§ 924(c). In the alternative, Turner requests that the court hold the petition in abeyance

while he pursues a Freedom of Information Act (FOIA) request related to the unsuccessful

entrapment defense he mounted at trial.1 For the reasons stated, the petition will be

DENIED, as will the request for a stay.2


      1
        Turner additionally argues that the issue whether a Hobbs Act conspiracy qualifies
as a crime of violence is a factual determination that should have been submitted to the
jury.
      2
       On April 8, 2009, Turner filed a motion for leave to amend his petition and reply to
the government’s opposition. In the motion, Turner argues that an article in the Boston
Globe newspaper, dated March 15, 2009, contains new evidence relevant to his pretrial
motion to dismiss, and his entrapment defense. The court will ALLOW the motion to
amend insofar as the court will consider the arguments raised in the motion in ruling on
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                                      BACKGROUND

       On October 24, 2001, following a four-week jury trial, Turner was convicted on six

charges: (1) conspiracy to affect commerce by robbery (Hobbs Act conspiracy); and (2)

attempting to commit a robbery affecting commerce, both in violation of 18 U.S.C. § 1951;

(3) carrying a hand grenade during and in relation to a crime of violence (the Hobbs Act

conspiracy); and (4) carrying other firearms during and in relation to a crime of violence,

both in violation of 18 U.S.C. § 924(c); (5) being a previously convicted felon in possession

of a hand grenade; and (6) being a previously convicted felon in possession of other

firearms, both in violation of 18 U.S.C. § 922(g)(1). Turner’s convictions stemmed from his

involvement with three co-defendants in a conspiracy to rob a Loomis Fargo armored car

facility in Easton, Massachusetts.3

       Prior to trial, Turner moved to dismiss Counts III and IV, arguing (as he does now)

that a Hobbs Act conspiracy does not constitute a “crime of violence” under 18 U.S.C. §

924(c). The court denied the motion, as well as a post-trial motion for a judgment of

acquittal based on the same argument.     On appeal, the First Circuit also rejected Turner’s

Hobbs Act contention. See United States v. Turner, 501 F.3d 59, 68 (1st Cir. 2007). The

United States Supreme Court thereafter denied Turner’s petition for certiorari. Turner v.

United States, 128 S.Ct. 1473 (U.S. Mar. 3, 2008).


Turner’s petition.
       3
        At trial, Turner presented an entrapment defense, arguing that two Federal Bureau
of Investigation (FBI) agents targeted and entrapped him because they believed that if
confronted with serious criminal charges, he would assist in the recovery of priceless
paintings stolen during a notorious (and unsolved) robbery of the Isabella Stewart Gardner
Museum in Boston.

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                                       DISCUSSION

       Turner’s contention that a Hobbs Act conspiracy does not qualify as a crime of

violence under section 924(c) can be disposed of quickly. While Turner argues that there

is a circuit split on this issue, he concedes that the First Circuit has joined the majority in

rejecting his argument. In its decision on Turner’s case, the First Circuit relied on the

reasoning of the Second Circuit:

       [a] conspiracy, by its very nature, is a collective criminal effort where a
       common goal unites two or more criminals. Such a meeting of the minds
       enhances the likelihood that the planned crime will be carried out. Thus,
       when a conspiracy exists to commit a crime of violence, . . . the conspiracy
       itself poses a substantial risk of violence, which qualifies it under Section
       924(c)(1) and Section 924(c)(3)(B) as a crime of violence.

Turner, 501 F.3d at 67 (quoting United States v. Elder, 88 F.3d 127, 129 (2d Cir. 1996)).

       Turner has litigated this same issue (twice) before this court, and before the First

Circuit. It is settled habeas law that “[i]ssues disposed of in a prior appeal will not be

reviewed again by way of a 28 U.S.C. § 2255 motion.” Singleton v. United States, 26 F.3d

233, 240 (1st Cir. 1994) (quoting Dirring v. United States, 370 F.2d 862, 864 (1st

Cir.1967)). While Turner would be permitted to relitigate the issue had there been a

subsequent change in the law, see Davis v. United States, 417 U.S. 333, 342 (1974), none

has occurred. Turner’s suggestion that the Supreme Court’s decision in James v. United

States, 550 U.S. 192 (2007), “left open” the door for reconsideration of the issue has no

merit.4 In addition to the fact that the cases discussed in James involved burglary and not


       4
        In James, the Court held that attempted burglary, as defined by Florida law, is a
“violent felony” within the meaning of the Armed Career Criminal Act (ACCA). James, 550
U.S. at 209. Turner relies on the Court’s discussion of cases originating in states which
do not require proof of an overt act as an element of an attempted crime. Cf.

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any crime resembling the Hobbs Act, it is telling that the Court even in that context

declined to consider the contrary holdings. In any event, the decision in James issued on

April 18, 2007, and the First Circuit decided Turner’s appeal four months later, on August

31, 2007, without any reference to James.

       Turner’s secondary argument that the issue whether a Hobbs Act conspiracy is a

“crime of violence” should have been submitted to the jury is long defaulted. Turner did

not present this claim on direct review, and has not even attempted to demonstrate “cause”

and “prejudice” resulting from his omission. Murray v. Carrier, 477 U.S. 478, 485 (1986).

Nor has Turner attempted to demonstrate “actual innocence,” the only other available

route for salvaging the default. Id. at 496. See also Sustache-Rivera v. United States, 221

F.3d 8, 17 (1st Cir. 2000).

       Next, Turner directs the court to a Boston Globe article on the Gardner robbery

suggesting that it points to new (exculpatory) evidence buttressing his claim of entrapment.

The article states, in narrative part:

       [a]s they walked the bare grounds that surround the museum that February
       day, Special Agent W. Thomas Cassano told [Anne] Hawley [Director of the



Commonwealth v. Peaslee, 177 Mass. 267, 272 (1901) (Holmes, C.J.) (“But some
preparations may amount to an attempt. It is a question of degree. If the preparation
comes very near to the accomplishment of the act, the intent to complete it renders the
crime so probable that the act will be a [crime], although there is still a locus poenitentiae,
in the need of a further exertion of the will to complete the crime.”). The Court noted that
cases holding to the contrary “involved attempt laws that could be satisfied by preparatory
conduct that does not pose the same risk of violent confrontation and physical harm posed
by an attempt to enter a structure illegally. Given that Florida law, as interpreted by that
State’s highest court, requires an overt act directed toward the entry of a structure, we
need not consider whether the more attenuated conduct encompassed by such laws
presents a potential risk of serious injury under ACCA.” James, 550 U.S. at 205-206.

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      Gardner Museum], according to notes made after the conversation: “It looks
      like we know who did it. One is in jail, one is dead, and one is on the street.”

      The FBI, Cassano said, had picked up the Gardner trail during an
      undercover operation targeting Carmello Merlino. Word was that Merlino,
      along with three South Shore men, had been responsible for the historic
      heist.

      And so the agency went all out. One of the three Merlino confederates was
      dead, but they pressed the other two hard. Agents put an undercover
      informant in the jail cell of one, Peter Boylan of Weymouth, and later offered
      to drop federal charges against the other, David Turner of Braintree, if he
      would tell what he knew.

Stephen Kurkjian, Untangling the Gardner Art Heist, BOSTON SUNDAY GLOBE, Metro

Section, March 15, 2009, at B1-B2.

      According to Turner, the article corroborates his claim at trial that the FBI

specifically targeted him because of its belief that he knew where the paintings had been

sequestered.    Turner speculates that reports in FBI files confirm Agent Cassano’s

conversation with Hawley, and argues that they should have been produced prior to trial,

pursuant to Brady v. Maryland, 373 U.S. 83, 87 (1963). Nothing in the article, however

(even putting aside its hearsay character), constitutes breaking news. The FBI’s interest

in Turner as a possible key to solving the Gardner heist was public knowledge almost from

the moment of Turner’s arrest and was thoroughly ventilated at trial. As the court noted

in denying Turner’s motion for a new trial, “that the FBI considered Turner a possible

suspect in the Gardner robbery was no secret to the jury and was testified to by both [FBI

Special Agent Neil] Cronin and [FBI Special Agent David] Nadolski.” Memorandum and

Order, March 4, 2005, at 16. To the extent that the jury believed that the FBI’s motive in

“targeting” Turner stemmed from his presumed connection to the Gardner robbery, it


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properly separated that motive from Turner’s participation in the attempt to rob the Loomis

facility and rejected his entrapment defense.

       Finally, Turner requests that the court hold his petition in abeyance until he receives

responses to FOIA requests submitted to the Bureau of Alcohol Tobacco, Firearms and

Explosives, the FBI, the United States Customs Service, and the United States Attorney’s

Office. Turner states that the purpose of his requests is to determine whether these

agencies possess information that they have not previously disclosed that might have

been relevant to his entrapment defense. The court sees no justification for a stay. In the

unlikely event Turner should turn up new and exculpatory evidence, he must comply with

the procedural requirements for filing a second and successive section 2255 petition.

                                      CONCLUSION

       For the foregoing reasons, Turner’s petition to vacate, set aside, or correct his

sentence is DENIED. The Clerk may now close the case.

                                                  SO ORDERED

                                                  /s/ Richard G. Stearns


                                                  UNITED STATES DISTRICT JUDGE




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